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                                      ORIGINAL                                           T


                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA '
                                 SAVANNAH DIVISION


LAURIE ABBOTT, FRED WILLIAMS,
and FRED WILLIAMS HOMEBUILDERS,
INCORPORATED,

       Plaintiffs,

V.

CITY OF POOLER, EARL L CARTER,
BILLIE L. TYLER, and STEVE E.
WALL, JR.,

       Defendants .

                                           COMPLAINT

       Come now Laurie Abbott, Fred Williams and Fred Williams Homebuilders,

Incorporated , plaintiffs herein, and show as follows :

                                                  I.

       Plaintiff, Laurie Abbott, is a resident of the State of Georgia .

                                                  2.

       Plaintiff, Fred Williams, is a resident of the State of Georgia .

                                                  3.

       Plaintiff, Fred Williams Homebuilders, Incorporated is a Georgia corporation .

                                                  4.

       Defendant, City of Pooler, is a political subdivision of the state of Georgia .



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                                                    5.

       Defendant, City of Pooler, is located within Chatham County, Georgia .

                                                    6.

        Defendant, Earl L. Carter, resides at406 Purple Finch Drive, Pooler, Georgia 31322, and may

be served at that address .

                                                    7.

        Defendant, Billie L Tyler, resides at 515 Gleason Avenue, Pooler, Georgia 31322, and may

be served at that address .

                                                    8.

        Defendant, Steve E . Wall,Jr ., resides at 305 Cardinal Street, Pooler, Georgia 31322, and may

be served at that address .

                                                    9.

        The Plaintiffs described in Paragraphs 1-3 are collectively referred to hereafter as "Plaintiffs ."

The Defendants described in Paragraphs 4-8 are collectively referred to hereafter as "Defendants ."

                                                   10 .

        Defendants are subject to the jurisdiction of this court, and venue in this court is proper.

                                                   11 .

        Defendants may be served pursuant to the provisions of O .C.G .A . § 9-11-4 or O .C .G .A. §

36-1-5 and Rule 4 of the Federal Rules of Civil Procedure .




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                                                 12 .

        Defendants are subject to suit pursuant to provisions ofthe Constitution of the United States

ofAmerica, the Constitution of the State of Georgia, O.C.G .A . § 36-1-3, O.C.G .A . § 36-7-1 of seq .,

and other statutory and case law of the State of Georgia .

                                                  13 .

        Plaintiff has complied with the requirements of O .C. G.A. § 36-11-1 by the letter dated

September 13, 2001, from counsel for Plaintiffs , George Boyd, Jr ., attached hereto as Exhibit "A"

and by the filing of this lawsuit . The City has denied any and liability for the damages set forth in

the attached notice .

                                                  14.

        The City of Pooler, Georgia was officially incorporated in 1907 .

                                                  15 .

        Since its incorporation in 1907, the City of Pooler has remained a predominantly white

community despite its location in Chatham County, Georgia , which has historically maintained a

high percentage of minority population .

                                                  16 .

        According to the 2000 Census, the City of Pooler had a total population of6,239.Ofthe total

population, 87.8% of the population identified themselves as white and only 7 .9% identified

themselves as black or African-American. In contrast, according to the 2000 census , approximately

40% of the total population in Chatham County identified themselves as black or African-Amenca .




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                                                  17.

        The governing body of the City of Pooler consists of a six-person city council and a mayor .

The current mayor and city council of the City of Pooler arc white . To the best information and

belief of plaintiffs herein, there has never been an African-American elected as mayor or as a

member of the city council in the City of Pooler .



FACTUAL ALLEGATIONS WITH RESPECT TO CLAIMS OF FRED WILLIAMS AND

                 FRED WILLIAMS HOME BUILDERS , INCORPORATED

                                                  Is.

        Plaintiff incorporate Paragraphs 1 through 17 as if fully set forth herein,


                                                  19.

        Defendant City of Pooler maintains, as separate and distinct departments, an Inspection

Department and a Zoning Department .

                                                 20.

        Defendant City of Pooler's Inspection Department is primarily charged with building

permitting and inspection activities.

                                                 21 .

        Defendant City of Poolcr's Zoning Department is charged with proposing and advising on

zoning requests and enforcing zoning regulations.




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                                                22.
        At a regularly Scheduled Council Meeting of Defendant City of Pooler , the Defendants

adopted a new fee of $1,200 (one thousand two hundred dollars ) per approved building permit to be

assessed to fund future construction and expansion of Defendant City of Pooler 's sewer treatment

facility [hereinafter referred to as "cost recovery fees'] . Such fees were not previously imposed by

the Defendant City of Pooler.

                                                23.

        Defendant City of Pooler has enacted construction and construction related requirements

which exceed the minimum acceptable industry standards for construction .

                                                24.

        Defendant City of Pooler has proscribed the minimum lot size for similarly categorized one-

family residential construction as ten thousand five hundred square feet . Throughout the rest or

Chatham County, lot sizes for one-family residences of six thousand square feet are permitted .

                                                25 .

        Plaintiff Fred Williams has been a home builder and developer sincel970 . Plaintiff Fred

Williams and Fred Williams Home Builders , Incorporated began building homes and developing

residential subdivisions in the City of Pooler in approximately 1995 after twenty -five years of

building homes and residential communities in Savannah and Chatham County . Initially, Fred

Williams and Fred Williams Home Builders, Incorporated were welcomed into the community by

representatives of the City of Pooler, to include the individual defendants named herein .




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                                                26.

       In approximately 1997, it became apparent to agents or employees of the City of Poolcr, to

include the individual defendants named herein, that Fred Williams and Fred Williams Home

Builders, Incorporated marketed and sold homes to African-Americans living in or desiring to reside

in Chatham County . Upon receipt of this knowledge , defendants herein and their agents and/or

employees engaged in a continuous and deliberate effort to harass and intimidate Fred Williams and

agents, employees and subcontractors of Fred Williams Home Builders , incorporated .

                                                27.

       In July 2000, Fred Williams Home Builders , incorporated made its offices in the City of

Pooler available to representatives of the United States Department of Justice to conduct an

investigation into the fair housing practices of the City of Pooler. Defendants were aware of the

Department ofJustice 's investigation and the support provided byFred Williams and Fred Williams

Home Builders, Inc . for said investigation . The meeting conducted by the Department of Justice

resulted in the filing of a lawsuit by the Department of Justice against the City of Pooler under the

Fair Housing Act, 42 U. S.C. § 3601 er seq.

                                                28.

       Subsequent to the meeting referenced in the previous paragraph , the acts of harassment and

intimidation of Fred Williams and agents, employees and subcontractors of Fred Williams Home

Builders, Inc. by agents and employees of defendants increased .




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                                               29 .

        Defendant City of Pooler has subjected buildings constructed and under construction by

Plaintiff Fred Williams to higher levels of scrutiny during the inspection process than buildings

constructed and under construction by other builders.

                                               30.

        Agents or employees of the City of Pooler have intimidated and harassed subcontractors

employed by Fred Williams and Fred Williams Home Builders, Incorporated . Defendants Carter,

Tyler and Wall had personal knowledge of the harassment and intimidation of Fred Williams and

Fred W illiams Homebuilders, Incorporated as described above and failed and/or refused to take any

action to prevent same .

                                               31.

        In 1999, the City of Pooler required Fred Williams to enter into "water and sewer

agreements" pursuant to which Fred Williams would be required to pay a $1,200 cost recovery fee

to the City before the City would agree to issue a building permit for certain developments under

construction by Fred Williams and Fred Williams Home Builders , Incorporated.

                                               32 .

        Fred Williams and Fred Williams Home Builders , Incorporated were required to execute the

"water and sewer agreements" referenced in the previous paragraph and to make payments in

accordance therewith as a condition of development approval.




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                                                 33.

        The "cost recovery fees" paid by Fred Williams and/or Fred Williams Home Builders,

Incorporated were used by the City to pay for the cost of capital facilities made necessary by new

growth and development in the City of Pooler .

                                                 34 .

        The City of Pooler has not adopted Development Impact Fees in the manner required by the

Georgia Development Impact Fee Act .

                                                 35.

        The actions of defendants as described herein have had and continue to have a disparate

impact on housing opportunities available to African-Americans .



                FACTUAL ALLEGATIONS WITH RESPECT TO CLAIMS OF

              LAURIE ABBOTT AND PROFESSIONAL PLAZA BUILDING, INC .

                                                 36.

        Plaintiffs incorporate Paragraphs i through 35 as if fully set forth herein .


                                                 37.

        According to the 2000 census, there were a total of 2,368 housing units in the City of Poolcr .

Of the total housing units in the City of Pooler, only 2 .3% contained 10 or more units per structure.




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                                                  38 .

         Prior to November 2001, Defendant City of Pooler applied a zoning ordinance which

restricted apartment density, in part, to the following square footage requirements : efficiency

apartment - 1,500 square feet ; one bedroom apartment - 2,000 square feet ; two bedroom apartment

2,500 square feet ; three bedroom apartment - 3,000 square feet .

                                                  39.

         Plaintiff Laurie Abbott, as successor in interest to Professional Plaza Building, Inc ., owned

certain property located within the City of Pooler .

                                                  40.

         Plaintiff Laurie Abbott attempted to develop the propertydescribed in Paragraph (39) for the

purpose of constructing an apartment complex.

                                                  41 .

         Defendant City of Pooler 's zoning of land for multi-unit dwellings prior to November 2001

prevented Plaintiffs Laurie Abbott from developing the property referenced in Paragraph (39) .

                                                  42.

         In the process of planning the development referenced in Paragraph (40) above, Plaintiff

Laurie Abbott met with representatives of the City of Pooler to discuss the applicable zoning

regulations. During the course of that meeting, representatives of the City of Pooler expressed

knowledge of the zoning requirements described in Paragraph (38) above.




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                                                   43.

        At no time during the course of the meeting between Laurie Abbott and representatives of

the City of Pooler did any agent or employee of the City of Pooler opine or otherwise state that the

zoning requirements set forth in Paragraph (38) were the result of a scrivener ' s error or other mistake

on the part ofthe City . Rather, said representatives insisted that the zoning regulations would apply

to the proposed development .

                                                   44 .

        Because of the regulations described in Paragraph (38), Plainti fiLaune Abbott was prevented

from completing the development described in Paragraph (40) .

                                                   45.

        After Plaintiff Laurie Abbott was prevented from constructing an apartment complex by the

zoning regulations in the City of Pooler, Laurie Abbott contracted with a developer by the name of

Jerry Braden , who intended to develop the same property as low-income retirement housing .

Defendants , however, opposed and ultimately defeated Mr . Braden's development on the beliefthat

it would attract African -Americans to the City of Pooler .

                                                   46.

                Defendants Carter, Tyler and Wall had personal knowledge of the zoning

requirements set forth in Paragraph (38) and failed or refused to take action to change said zoning

requirements despite knowledge that such requirements had a disparate impact on housing

opportunities for African -Americans .




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                                                47.

       The zoning and building requirements , described in Paragraphs (23), (24) and (38) were

implemented and maintained as part of a concerted effort on behalf of Defendants and other agents

and/or employees of the City of Pooler to deny housing opportunities to African-American home

buyers and to dissuade or prevent the building of affordable housing which could be sold or rented

to African-American home renters or home buyers .

                                                48.

        Only after receipt of the ante litem notice by plaintiffs herein did defendants change the

zoning requirements described in Paragraph (38) .

                                                49.

        As a result of the actions of Defendants as described herein , less than eight percent of the

population of the City of Pooler is African -American, while Chatham County as a whole has

maintained an African-American population of approximately forty percent .

                                                50.

       The actions of defendants herein have had and continue to have a disparate impact on the

housing opportunities available to African-Americans within the City of Pooler.

                                            Count One

                     Violation of the Georgia Development Impact Fee Act

                                                51 .

        Paragraphs I through 50 above are realleged in their entirety.




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                                                 52.

       Plaintiff alleges that the fees, described in Paragraph (22), have been imposed as a condition

precedent for approval of new development and for the purpose ofpaying for system improvements

needed to serve new growth and development.

                                                 53.

       The fees, described in Paragraph (22), are development impact fees as defined by O .C .G.A.

§36-71-2 .

                                                 54.

        Defendant has not complied with the requirements for the imposition ofdcvelopment impact

fees as required by O.C.G.A. § 36-71-1 et seq.

                                                 55.

        The fees, described in Paragraph (22), are not authorized by Georgia law and are, therefore,

illegal exactments.

                                            Count Two

         Constitution o(the United States otAmerica - Violation of Equal Protection

                                                 56 .

        Paragraphs I through 55 are realleged in their entirety.

                                                 57.

        The Defendant 's imposition of zoning regulations for the purpose of discouraging African-

Americans from purchasing housing within the City of Pooler violates the equal protection

requirements under the Constitution of the United States of America .



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                                                  58.

        The imposition of excessive fees for the purpose of precluding affordable housing and/or

discouraging African- Americans from purchasing housing within the City of Pooler violates equal

protection requirements under the Constitution of the United States of America .

                                                 59.

        The application of excessive building requirements and standards for the purpose of

precluding affordable housing and discouraging African-Americans from purchasing housing within

the Ci ty of Pooler violates equal protection requirements under the Constitution of the United States

of America.

                                                  60.

        The imposition ofunusuallyhigh scrutiny to Plaintiff Williams' construction projects forthe

purpose of discouraging Plaintiff Williams from marketing or selling houses he builds to African-

Americans violates the Equal Protection requirements under the Constitution of the United States

of America.

                                            Count Three

              Constitution of the State of Georgia - Violation of Equal Protection

                                                  61 .

        Paragraphs I through 60 are realleged in their entirety .




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                                                62.

        The Defendant 's imposition of zoning regulations for the purpose of discouraging African-

Americans from purchasing housing within the City of Poolcr violates the equal protection

requirements under the Constitution of the State of Georgia.

                                                 63.

        The imposition of excessive fees for the purpose of precluding affordable housing and/or

discouraging African-Americans from purchasing housing within the City of Pooler violates equal

protection requirements under the Constitution of the State of Georgia .

                                                64.

        The application of excessive building requirements and standards for the purpose of

precluding affordable housing and/or discouraging African-Americans from purchasing housing

within the City of Pooler violates equal protection requirements under the Constitution of the State

of Georgia .

                                                 65.

        The imposition ofunusuallyhigh scrutinyto Plaintiff Williams' construction projects for the

purpose of discouraging Plaintiff Williams from marketing or selling houses he builds to African-

Americans violates the Equal Protection requirements underthe Constitution ofthe StateofGcorgia .

                                            Count Four

         Constitution of United State of America - Arbitrary and Capricious Action

                                                 66.

        Paragraphs I through 65 are realleged in their entirety.


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                                                   67.

        Defendant City of Pooler's imposition of zoning regulations for efficiency apartments

requiring a minimum square footage of 1,500 square feet constituted an arbitrary and capacious

exercise of Defendant's police power .

                                                   68 .

             Defendant City of Pooler' s imposition of zoning regulations for one bedroom apartments

requiring a minimum square footage of 2,000 square feet constituted an arbitrary and capricious

exercise of Defendant's police power.

                                                   69.

        Defendant City of Pooler's imposition of zoning regulations for two bedroom apartments

requiring a minimum square footage of 2,500 square feet constituted an arbitrary and capricious

exercise of Defendant's police power .

                                                   70.

             Defendant Cityof Pooler 's imposition of zoning regulations for three bedroom apartments

requiring a minimum square footage of 3,000 square feet constituted an arbitrary and capricious

exercise of Defendant 's police power.

                                                   71 .

        Defendant City of Pooler's imposition of zoning regulations for one-family residential

construction requiring a minimum lot size of ten thousand five hundred square feet constituted an

arbitrary and capricious exercise of Defendant 's police power.




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                                                 72.

       Defendant City of Pooler' s imposition of construction standards and other construction

related requirements which exceed the minimum acceptable industry standards for construction is

an arbitrary and capricious exercise of Defendant ' s police power .



                                            Count Five

                                  Violation of Fair Housing Act

                                                 73.

        Paragraphs I through 72 above are realleged in their entirety

                                                 74 .

        Defendants ' imposition and enforcement of its zoning regulations , land development fees,

and building requirements as alleged herein have had a significant and detrimental impact on the

population of African- Americans residing in the City of Pooler in violation of 42 U .S.C.A . 3601 et

seq . (commonly known as the Fair Housing Act) .

                                                 75.

        Defendants ' imposition of zoning regulations for the purpose of precluding affordable

housing and discouraging African-Americans from purchasing housing within the City of Pooler

violates 42 U.S .C.A. 3601 et seq . (commonly known as the Fair Housing Act) .




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                                                 76.

        The imposition of excessive fees for the purpose of precluding affordable housing and

discouraging African-Americans from purchasing housing within the City of Pooler violates 42

U.S.C.A. 3601 er seq. (commonly known as the Fair Housing Act) .

                                                 77.

        The application of excessive building requirements and standards for the purpose of

precluding affordable housing and discouraging African-Americans from purchasing housing within

the City of Pooler violates 42 U .S.C.A. 3601 et seq . (commonly known as the Fair Housing Act) .

                                                 78.

        The imposition ofunusuallyhigh scrutinyto Plaintiff Williams ' construction projects forthe

purpose of precluding affordable housing and discouraging Plaintiff Williams from marketing or

selling houses he builds to African- Americans violates 42 U.S .C.A . 3601 et seq. (commonly known

as the Fair Housing Act).

                                                 79.

        The harassment and intimidation of plaintiff Williams by agents or employees ofdefendants

as described herein violates 42 U .S.C. § 3601 et seq . (commonly known as the Fair Housing Act) .



        WHEREFORE, Plaintiff prays for the following :

        A. That service of process issue forthwith against Defendants ;

        B . That Defendants be immediatelyand permanently enjoined from applying particular

                       scrutiny to Plaintiff Williams' building projects ;


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        C. That Defendants be immediately and permanently enjoined from violating 42

               U.S.C.A. 3601 et seq. (commonly known as the Fair Housing Act) ;

        D. That Defendant CityofPooler be immediately enjoined from enforcement of the fees

               for the issuance of building permits and for other fees related to real estate

               development complained of herein;

        E. That Defendant City of Pooler be immediately and permanently enjoined from

               collecting any development enactments complained of herein ;

        F. That Defendant City of Pooler be immediately and permanently enjoined from

               collecting any development impact fee prior to complying with the provisions of

               O.C.G.A. § 36-71 .1 et seq.;

        G. That Defendant City of Pooler refund all funds unlawfully collected by it ;

        H . That the costs of this action be taxed against the Defendants ;

        1. That Plaintiffs be awarded attorneys fees and the costs associated with bringing this

               action;

        J. That Plaintiffs be awarded punitive and actual damages as appropriate ; and

        K. For any other relief which this Court deems Just and proper .

        Respectfully Submitted this _604   aay of
                                              PAGE, SCRANTOM, SPROUSE,
                                              Attome f    rFO s .
                                               ttome ror Plainti nti s




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